Subject: Beretta Termination of Employment
From: Alison Kotler (akotler@Berettausa.com)
To: pawsid4 @yahoo.com;

Date: Monday, September 12, 2016 1:51 PM

This email serves to confirm in writing that Beretta has terminated your employment effective Friday September 9th. As a part of this
termination Beretta will provide you with a two week (80 hours total) severance package. I will provide you with your severance
agreement in a separate cmail by end of the day today. Your benefits wilt end 9/30/2016 percompany policy. Any remaining
vacation hours will be paid to you in your final check, per company policy.

Tam unable to coordinate a tims this aftemoon for you to retum to the facility to pick up your personal items. Please confirm a time
on Saturday September 17 in the moming that you will be able to retum to the facility so 1 can make the necessary arrangements.
Thanks!

Altson L, Kotler, SPHR, SHRMI-SCP

Director of Human Resances

Beretta U.S.A. Corp.

17601 Bereta Drive, Accakeek, MD 20607

(301) 283-2191 Ext. 1311
ff S01 2Ra-SLla

G@DBERETTA

S08 TEARS. ONE PASSION,

Attachments

image001 jpg (18.59KB)
image002.jpg (11.01KB)
image003.jpg (9.70KB)
image004 jpg (10.87KB)

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